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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                          Chapter 11

PURDUE PHARMA L.P., et al.,                                     Case No. 19-23649 (RDD)

                 Debtors. 1                                     (Jointly Administered)


          AMENDED 2 AGENDA FOR FEBRUARY 21, 2020 OMNIBUS HEARING

Time and Date of Hearing:          February 21, 2020 at 10:00 a.m. (prevailing Eastern Time)
Location of Hearing:               The Honorable Judge Robert D. Drain
                                   United States Bankruptcy Court for the Southern District of New York
                                   300 Quarropas Street
                                   White Plains, New York 10601
Copies of Motions:                 A copy of each pleading can be viewed on the Court’s website at
                                   http://www.nysb.uscourts.gov and the website of the Debtors’
                                   notice and claims agent, Prime Clerk LLC at
                                   https://restructuring.primeclerk.com/purduepharma.


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  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034),
Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven
Seas Hill Corp. (4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140),
Purdue Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc.
(7805), Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584),
Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
SVC Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser
Boulevard, Stamford, CT 06901.
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  Amended items appear in bold text.
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  I.     UNCONTESTED MATTERS:

    1.     Headquarters Lease Motion. Motion of Debtors for Entry of an Order (I)
           Authorizing the Rejection of Commercial Lease, (II) Authorizing Entry into New
           Headquarters Lease, (III) Authorizing the Assumption of Commercial Leases, and
           (IV) Granting Related Relief [ECF No. 796]

                     Objection Deadline: February 14, 2020 at 4:00 p.m. (prevailing Eastern
                     Time) (for all parties other than the Official Committee of Unsecured
                     Creditors with respect to whom the Objection Deadline was extended to
                     February 17, 2020 at 12:00 pm (prevailing Eastern Time)).

                     Related Documents:

                         A. Statement of the Official Committee of Unsecured Creditors with
                            respect to the Motion of Debtors for Entry of an Order (I)
                            Authorizing the Rejection of Commercial Lease, (II) Authorizing
                            Entry into New Headquarters Lease, (III) Authorizing the
                            Assumption of Commercial Leases and (IV) Granting Related
                            Relief [ECF No. 839]

                         B. Response of Debtors to Statement of the Official Committee of
                            Unsecured Creditors with Respect to the Motion of Debtors for
                            Entry of an Order (I) Authorizing the Rejection of Commercial
                            Lease, (II) Authorizing Entry into New Headquarters Lease, (III)
                            Authorizing the Assumption of Commercial Leases and (IV)
                            Granting Related Relief [ECF No. 846]

                         C. Notice of Filing of Revised Proposed Order (I) Authorizing the
                            Rejection of Commercial, (II) Authorizing Entry into New
                            Headquarters Lease and (III) Granting Related Relief
                            [ECF No. 857]

                     Status: This matter is going forward on an uncontested basis.

    2.     Motion to Shorten. Debtors’ Ex Parte Motion for Entry of an Order Shortening
           Notice with Respect to Debtors’ Motion for Authorization to Enter into Development
           Agreement [ECF No. 824]

                     Objection Deadline: February 20, 2020 at 12:00 p.m. (prevailing Eastern
                     Time).

                     Responses Received: None

                     Related Documents:

                         A. Notice of Hearing on Debtors’ Ex Parte Motion for Entry of an
                            Order Shortening Notice with Respect to Debtors’ Motion for

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                          Authorization to Enter into Development Agreement [ECF
                          No. 832]

                   Status: This matter is going forward on an uncontested basis.

   3.    Development Agreement Motion. Debtors’ Motion for Authorization to Enter into
         Development Agreement [ECF No. 826]

                   Objection Deadline: February 20, 2020 at 12:00 p.m. (prevailing Eastern
                   Time).

                   Responses Received: None

                   Related Documents:

                      A. Debtors’ Motion for Entry of Order Pursuant to 11 U.S.C. §§
                         105(a), 107(b) and Fed. R. Bankr. P. 9018 Authorizing the Filing
                         of Certain Information and Exhibits Under Seal in Connection with
                         the Debtors' Motion for Authorization to Enter into Development
                         Agreement [ECF No. 825]

                      B. Declaration of Jon Lowne in Support of Debtors’ Motion for
                         Authorization to Enter into Development Agreement [ECF No.
                         827]

                      C. Order Granting Debtors’ Motion for Entry of Order Pursuant to 11
                         U.S.C. §§ 105(a) and 107(b) and Fed. R. Bankr. P. 9018
                         Authorizing the Filing of Certain Information under Seal in
                         Connection with the Debtors’ Motion for Authorization to Enter
                         into Development Agreement [ECF No. 828]

                      D. Statement of the Official Committee of Unsecured Creditors
                         with Respect to the Debtors’ Motion for Authorization to
                         Enter into Development Agreement [ECF No. 849]

                      E. The Non-Consenting States’ Statement with Respect to
                         Purdue’s Motion for Authorization to Enter into Development
                         Agreement [ECF No. 850]

                      F. Notice of Filing of Revised Proposed Order Authorizing Entry
                         into Development Agreement [ECF No. 858]

                   Status: This matter is going forward on an uncontested basis.

   4.    KPMG Retention Application. Application for Order Authorizing Employment and
         Retention of KPMG LLP as Tax Consultants to the Debtors and the Official
         Committee of Unsecured Creditors Nunc Pro Tunc to December 23, 2019
         [ECF No. 815]

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                   Objection Deadline: February 18, 2020 at 4:00 p.m. (prevailing Eastern
                   Time) (for all parties other than the Ad Hoc Committee with respect to
                   whom the Objection Deadline was extended to February 20, 2020 at 12:00
                   p.m. (prevailing Eastern Time)).

                   Responses Received: The Debtors received informal comments from the
                   U.S. Trustee.

                   Related Documents: None

                   Status: This matter is going forward on an uncontested basis.




Dated:   February 21, 2020
         New York, New York


                                         DAVIS POLK & WARDWELL LLP

                                         By: /s/ Eli J. Vonnegut


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